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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)
                                                                               Order Filed on April 12, 2024
  BALLARD SPAHR LLP                                                            by Clerk
  Leslie C. Heilman, Esq.                                                      U.S. Bankruptcy Court
                                                                               District of New Jersey
  919 N. Market Street, 11th Floor
  Wilmington, Delaware 19801
  Telephone: (302) 252-4446
  heilmanl@ballardspahr.com

  Counsel for 209-261 Junction Road Madison
  Investors, LLC.
                                                               Chapter 11
  In re:
                                                               Case No. 23-13359 (VFP)
                                                1
  BED BATH & BEYOND, INC., et al.,
                                                               Judge: Vincent F. Papalia
                                              Debtors.
                                                               (Jointly Administered)

             STIPULATION AND CONSENT ORDER RESOLVING LANDLORD’S
                            ADMINISTRATIVE CLAIMS

           The relief set forth on the following pages, numbered two (2) through five (5), is hereby

 ORDERED.




  DATED: April 12, 2024




 1 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases (collectively, the “Debtors” and each a “Debtor”) and each such Debtor’s tax
 identification number may be obtained on the website of the Debtors’ proposed claims and noticing agent at
 https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath & Beyond Inc.’s principal place of business
 and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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 Case No.          23-13359-VFP
 Caption of Order: STIPULATION AND CONSENT ORDER RESOLVING LANDLORD’S
 ADMINISTRATIVE CLAIMS

        This stipulation and consent order (the “Stipulation”) is made by and between 209-261

 Junction Road Madison Investors, LLC, (the “Landlord”), and Michael Goldberg, as Plan

 Administrator (the “Plan Administrator”) for the Debtors (together, the “Parties”), including, as

 applicable, by and through their duly authorized undersigned counsel.

        WHEREAS, on April 23, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)

 in the Court. The Debtors continue to operate their businesses and manage their assets as debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

        WHEREAS, the Debtors’ chapter 11 cases have been procedurally consolidated;

        WHEREAS, as of the Petition Date, Landlord and Debtor Buy Buy Baby, Inc. (“Tenant”)

 were parties to an unexpired lease of non-residential real property (the “Lease”) located at 231

 Junction Rd, Madison, WI 53717 (Store No. 3139) and guaranty of Lease (the “Guaranty”)

 executed by Debtor Bed Bath & Beyond Inc. (the “Guarantor”);

        WHEREAS, as of the Petition Date, defaults had occurred under the Lease and Guaranty

 based on, inter alia, a lien claim having been asserted by contractor TMS Construction, Inc.

 (“Contractor”);

        WHEREAS, on July 17, 2023, Contractor filed a complaint against Landlord based on the

 lien claim in the Dane County Circuit Court in Wisconsin, Case No. 2023CV001823 (the

 “Lawsuit”) and served the Complaint and Summons upon Landlord on July 18, 2023;

        WHEREAS, pursuant to Section 10.1.3 of the Lease and the Mechanics’ Lien

 Indemnification Agreement, Tenant is obligated to indemnify, hold harmless, and protect Landlord

 from any loss, payment, claim or expense related to a lien or claim arising against Landlord’s


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 interest in the Premises and the Shopping Center based upon materials or services provided under

 contract with Tenant and Guarantor guaranteed to Landlord the full, prompt, and complete

 performance by Tenant of all Monetary and Non-Monetary Lease Obligations under the Lease;

          WHEREAS, on August 17, 2023, the Bankruptcy Court entered a Ninth Order Approving

 the Rejection of Certain Executory Contracts and/or Unexpired Leases and the Abandonment of

 Certain Personal Property, If Any [Docket No. 1908], pursuant to which the Lease was rejected

 effective July 31, 2023 (the “Rejection Date”);

          WHEREAS, the Debtors scheduled Landlord as a creditor of Buy Buy Baby, Inc. on their

 schedules, which scheduled amount was superseded by filed claims of Landlord;

          WHEREAS, on August 2, 2023 and September 14, 2023, Landlord filed four proofs of

 claims against the Debtors concerning the Lease, as follows:

  Claim No.       Date Filed      Debtor                Amount
  15591           08/02/2023      Buy Buy Baby, Inc.    N/A (amended by 17499)
  15595           08/02/2023      Bed Bath & Beyond     N/A (amended by 17498)
                                  Inc.
  17498           09/14/2023      Bed Bath & Beyond     $597,644.55 (GUC)
                                  Inc.                  $977,805.83 (Administrative Priority)
  17499           09/14/2023      Buy Buy Baby, Inc.    $597,644.55 (GUC)
                                                        $977,805.83 (Administrative Priority


          WHEREAS, on September 14, 2023, this Court entered the Findings of Fact, Conclusions

 of Law, and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming

 the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates

 [Docket No. 2172], confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond

 Inc. and Its Debtor Affiliates [Docket No. 2160] (as amended, the “Plan”);




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        WHEREAS, on September 29, 2023, the effective date of the Plan occurred; as of that

 date, the Plan Administrator is authorized to implement the Plan and any applicable orders of the

 Bankruptcy Court;

        WHEREAS, the Parties have agreed upon the terms set forth in this Stipulation, for which

 the Parties seek approval hereby;

        NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION THE

 PARTIES HERETO ACKNOWLEDGE RECEIVING, IT IS HEREBY STIPULATED,

 AGREED AND ORDERED AS FOLLOWS:

        1.      The recitals set forth above are hereby made an integral part of the Parties’

Stipulation and are incorporated herein.

        2.      Claim No. 17498 shall be allowed against the Debtors in the amounts of

 $597,644.55 as a general unsecured claim and $1,042,183.99 as an administrative claim, the latter

 being comprised of the amount asserted in the claims ($977,805.83) as well as attorneys’ fees and

 expenses incurred in defending against the Lawsuit ($64,378.16).

        3.      Claim Nos. 15591, 15595, and 17499 are hereby withdrawn.

        4.      Payment of the Landlord’s administrative expense claim will be made pro rata with

 all other chapter 11 administrative claims and at the same time that distributions are made on all

 other chapter 11 administrative claims in these cases.

        5.      This Stipulation resolves all of the Landlord’s potential administrative claims

 against the Debtors as it relates to the Lease.




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        6.      Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), upon the Court’s

 approval of this Stipulation, the relief set forth herein shall be effective and enforceable

 immediately upon entry hereof.

        7.      The Parties acknowledge and agree that the Court shall retain jurisdiction over all

 disputes concerning or related to the subject matter of this Stipulation.



 Dated: April 3, 2023

 PACHULSKI STANG ZIEHL & JONES LLP                       BALLARD SPAHR LLP

 /s/ Colin R. Robinson                                   /s/ Leslie C. Heilman
 Robert J. Feinstein (admitted pro hac vice)             Leslie C. Heilman, Esquire
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                                                         Madison Investors, LLC
 Counsel to the Plan Administrator




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